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                                                                          Page 1
                           UNTIED STATES DISTRICT COURT

                           EASTERN DISTRICT OF NEW YORK

                           Civil Action No. 1:23-CV-369

                           (Morrison, J.) (Levy, M.J.)

                - - - - - - - - - - - - - - - - - - - - - - -

                            UNITED STATES OF AMERICA,

                                      Plaintiff,

                                          v.

            RARE BREED TRIGGERS, LLC; RARE BREED FIREARMS, LLC;

                     LAWRENCE DEMONICO; and KEVIN MAXWELL,

                                     Defendants.

                - - - - - - - - - - - - - - - - - - - - - - -



                                    DEPOSITION OF



                           LAWRENCE ALEXANDER DEMONICO



                                Friday, July 7, 2023




            Reported by:

            SUSAN ASHE, CSR, RMR, CRR




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       7                 Deposition of LAWRENCE ALEXANDER DEMONICO,

       8    taken on behalf of the Plaintiff, beginning at

       9    10:07 a.m., on Friday, July 7, 2023, before Susan

      10    Ashe, CSR, RMR, CRR, and a Notary Public for the

      11    Commonwealth of Virginia.

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                                                                          Page 3
       1    APPEARANCE OF COUNSEL:

       2          On behalf of the Plaintiff:

       3                 BREON PEACE

       4                 UNITED STATES ATTORNEY

       5                 EASTERN DISTRICT OF NEW YORK

       6                 BY:   PAULINA STAMATELOS, ESQ.

       7                 BY:   MICHAEL BLUME, ESQ.

       8                 ASSISTANT UNITED STATES ATTORNEYS

       9                 271 Cadman Plaza East

      10                 Brooklyn, New York      11201

      11                 (718) 254-7000

      12                 pauline.stamatelos@usdoj.gov

      13                 michael.blume@usdoj.gov

      14

      15          On behalf of the Defendants and the Witness:

      16                 THE DHILLON LAW GROUP

      17                 BY:   JOSIAH CONTARINO, ESQ.

      18                 BY:   DAVID WARRINGTON, ESQ.

      19                 50 Park Place, Suite 1105

      20                 Newark, New Jersey      07102

      21                 (973) 298-1723

      22                 jcontarino@dhillonlaw.com

      23                 dwarrington@dhillonlaw.com

      24

      25




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                                                                          Page 4
       1    ALSO PRESENT:

       2                 Matthew Myerson, Esq.

       3                 Bureau of Alcohol, Tobacco, Firearms and

       4                 Explosives

       5

       6                 Michael Columbo, Esq.

       7                 The Dhillon Law Group

       8                 (Via Teleconference)

       9

      10                 Kevin Maxwell, Esq.

      11                 (Via Teleconference)

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                                                                          Page 6
          1                    FRIDAY, JULY 7, 2023;

          2                           10:07 A.M.

          3                             --o0o--

          4   Whereupon,

          5                LAWRENCE ALEXANDER DEMONICO

          6       having been first duly sworn, was examined

          7                 and testified as follows:

          8                      DIRECT EXAMINATION

          9   BY MS. STAMATELOS:




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                    A
                           -Misdemeanors, felonies -- nothing?

                            No.

      11            Q       Okay.   Are you currently the president

      12      of Rare Breed Triggers?

      13            A       Yes.

      14            Q       How long have you been the president of

      15      Rare Breed Triggers?

      16            A       Since its inception.

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                                                                        Page 13

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          6         Q       Okay.   All right.     Can you give me --

          7   can you explain your duties as president for Rare

          8   Breed Triggers.

          9         A       I essentially run the company; make the

      10      large majority of decisions for the company when it

      11      comes to business, marketing, day-to-day operations,

      12      so on.

      13            Q       What do you mean by "marketing"?

      14            A       Any photographs that would be taken or

      15      any advertisements that would be put out, things of

      16      that nature.

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                            Okay.   As the president of Rare Breed

      15      Triggers, do you have knowledge of RBT's records?

      16            A       Yes.

      17            Q       The business records.       Okay.


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         -    BY MS. STAMATELOS:

                    Q       All right.    Do you recognize this

      19      document?

      20            A       I do.

      21            Q       Okay.   Can you tell me what it is?

      22            A       It's a Temporary Retraining Order and

      23      Order to Show Cause.




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          8         Q       Okay.   So what did you do, personally,

          9   to preserve records related -- relating "to the

      10      manufacture, possession, receipt, transfer, customer

      11      base, and/or historical or current sales of the

      12      FRT-15s, Wide Open Triggers, forced reset triggers,

      13      and/or machinegun conversion devices"?

      14            A       I have not gotten rid of anything after

      15      we were served with this TRO.

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                                                                        Page 26

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          6                 What is your understanding of "preserve

          7    all documents"?

          8         A       My understanding would be that they

          9    would still be available.




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          7         Q       Sitting here today, you do not know the

          8   cell phone number that you used to conduct business

          9   on behalf of Defendant RBT?

      10            A       Your question was:      Can I identify all

      11      cell phone numbers?

      12                    I can identify my primary cell phone.

      13      If you'd like the number, I can read it out for the

      14      record.

      15            Q       Yes, do that.

      16            A       757-651-1878.




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                    Q       Okay.   On this phone number, the

             757-651-1878, did you have -- did you conduct

      13     business on behalf of RBT using text messaging?

      14            A       Yes, I did.

      15            Q       Okay.   And did you have group chats?

      16            A       Yes.

      17            Q       And was RBT admin group one of the

      18     threads?

      19            A       Yes, ma'am.

      20            Q       Were there others?

      21            A       Yes.

      22            Q       Could you list them?

      23            A       I don't know that I can give you a

      24     complete list, but I can definitely give you some.

      25            Q       Okay.




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                                                                        Page 30

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        3           A       I have multiple group messages that are

        4    set up.

        5                   I have a group message that pertains to

        6    intellectual property litigation that's with more

        7    than one of our IP attorneys on the group.

        8                   I've got a group with attorneys for Rare

        9    Breed Triggers litigation.

      10                    You've already mentioned the RBT admin

      11     group.

      12                    To the best of my recollection, I

      13     believe I also had a group with individuals from 3rd

      14     Gen.

      15                    I don't want to commit to that being a

      16     full list, but that's what I can recall at the

      17     moment.

      18            Q       Okay.   So on the RBT admin group, who

      19     was on that list?      Who was included in that chat --

      20     excuse me, group messages?

      21            A       To the best of my recollection, myself,

      22     Cole Leleux, Kelly Leleux, Gabriella -- and I don't

      23     know her last name.       And I believe Jennifer Pierson

      24     was in that group.

      25                    I believe that is who was in that group.




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                    Q       All right.    Let's go to your damaged

      19      phone.    Should we call it that way?

      20            A       I'm sorry?

      21            Q       Your damaged phone.

      22            A       I need you to speak up.        I'm sorry.

      23            Q       Oh, I'm sorry.     The phone that was

      24      damaged.

      25            A       Yes, ma'am.




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                                                                        Page 43
        1           Q       Okay.   When was it damaged?

        2           A       I can't give you the specific date.              I

        3    feel like I probably have at a previous time.

        4                   But it was damaged at an event at my two

        5    boys' elementary school like -- during like a

        6    field-day event.

        7           Q       Was that prior to retaining current

        8    counsel?

        9           A       No, it wasn't.


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      15            Q       When did you tell current counsel that

      16      this -- that your phone was damaged?

      17            A       I can't give you a specific date.


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      24
        --          Q       Sitting here today, you don't remember

      25      the date?




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Case 1:23-cv-00369-NRM-RML Document 124-1 Filed 08/11/23 Page 45 of 218 PageID #:
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                                                                        Page 45
         1          A       No, ma'am, I do not.

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                                                                        Page 46

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        4           Q       Okay.   What about WOTs?

        5           A       Okay.   Glad that was your next question,

        6    because I was going to make sure you didn't move on.

        7                   Yes, we still have quite a bit of WOTs.

        8                   I find it very interesting that,

        9    throughout all of this, the ATF has never actually

      10     showed up to my office in Fargo, North Dakota,

      11     because I have a ton of them sitting in my office in

      12     Fargo, North Dakota.

      13                    And if the end of this depo results in a

      14     phone call to the ATF, I just ask that they ask to

      15     be let in the door and not, you know, knock it off

      16     its hinges.

      17                    But other than that, we also have

      18     inventory in storage units.

      19            Q       Let's take that step by step.

      20                    So what is in Fargo, North Dakota?

      21            A       Rare Breed Triggers' office.

      22            Q       Is that a physical office?

      23            A       It is a physical office.

      24            Q       Do you ever go there?

      25            A       I do.




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                                                                        Page 47
          1         Q       How often?

          2         A       Not often.

          3         Q       When was the last time you went there?

          4         A       It was cold the last time I went -- so,

          5   in the winter.

          6         Q       Okay.   You said you had a ton of WOTs in

          7   your office in Fargo.

          8                 Is that right?

          9         A       That is correct.

      10            Q       Okay.   Can you define "a ton"?

      11            A       Boxes, numerous boxes -- five, six

      12      boxes.

      13                    And I can't really tell you how many are

      14      in a box.   But they're big boxes.

      15            Q       What is the size of those boxes?

      16            A       This is an approximate size.

      17                    But I would say maybe 20 inches by

      18      18 inches by 18 inches -- -ish.




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                                                                        Page 48

          I
          2         Q       No.   I'm asking you to give me -- to

          3   think about this and give me your testimony to the

          4   best of your knowledge.

          5         A       Then I can't give you a specific number.

          6                 But if you want me to give the best

          7   guess I can give you, then I'd be happy to do that.

          8                 If that's the case, then I would

          9   probably say maybe 100 per box.




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      14
                    Q       And when did Big Daddy Unlimited send

              you these five to six boxes?

      15            A       Okay.   I want to back up to be very,

      16      very clear.    I feel like there's been a little bit

      17      of a misunderstanding.

      18                    There's a lot more than five boxes --

      19      five, six boxes.

      20                    There's five or six boxes in my office

      21      in Fargo.   There are many, many, many -- many more

      22      boxes in storage units.

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      10            Q       Okay.   So what are the storage units? --

      11      where are the storage units located, excuse me.

      12            A       Yes.    There is one storage unit in

      13      Fargo, North Dakota.      And there is one storage unit

      14      in...the outskirts of Dallas, Texas.

      15            Q       Okay.   Give me the addresses, please.

      16            A       I don't have the address.

      17            Q       Why don't you have the address of the

      18      storage unit?

      19                            (No response.)

      20            Q       Have you visited that storage unit

      21      recently?

      22            A       Not recently, no.




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                                                                        Page 51

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          4           Q     But you have access to the address, you

          5   would be able to find out the address?

          6           A     I could find out the address.

          7           Q     Okay.   And that's true -- and you don't

          8   know the address for Dallas either?

          9           A     No, I don't.




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      16              Q     Okay.   How many boxes in each storage

      17      unit?

      18              A     I can't even begin to guess, but it's a

      19      lot.




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                     Q      Okay.   And why didn't you sell the rest

      15      of the WOTs that are in this inventory?

      16             A      To the best of my recollection, we quit

      17      selling when our merchant account provider had ended

      18      their services for us.

      19             Q      Okay.   By "merchant account provider,"

      20      does that mean Chase?

      21             A      Chase Paymentech.      Yes, ma'am.

      22             Q      When did they end their services with

      23      you?

      24             A      I can't give you the date.

      25             Q      Was it prior to the commencement of this




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                                                                        Page 53
          1   litigation:    January 2023?

          2           A     I can't give you the date, and I don't

          3   want to lie to you.

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      18              Q     Do you recall what that correspondence

      19      said?

      20              A     Essentially, that we weren't going to do

      21      business anymore.

      22              Q     Do you recall the reason that they

      23      provided?

      24              A     Yeah -- yes, excuse me.        It was....

      25                    To the best of my recollection, it came




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                                                                        Page 54
          1   down to....

          2                 I'm trying to remember the phrase they

          3   used.

          4                 "Reputational risk."

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                            Did you have communications with Chase

              Paymentech after you received the correspondence

      19      stating that they would end their business

      20      relationship with you?

      21              A     There were definitely a few emails that

      22      had gone back and forth at that period.

      23                    I think I had asked them to reconsider.

      24      They didn't reconsider.       And, you know, that was it.

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        3            Q      Okay.   I just want to ask you quickly:

        4    Did RBT have a no-refund policy?

        5            A      Yes, ma'am.

        6            Q      Could you explain that, the policy?

        7            A      Sure.   Well, first of all, I feel like

        8    it's very common in today's age to have a no-refund

        9    policy.     But the policy was, you know:        No returns,

      10     no refunds, no exceptions.

      11                    On the checkout page when somebody was

      12     going to complete their order, there were three

      13     boxes that every customer had to check.

      14                    One, that they agreed with the waiver in

      15     terms of service.

      16                    Two, that they would agree to abide by

      17     local and, you know, state and federal law.

      18                    And three, that they agreed to the no

      19     returns, no refunds, no exceptions.

      20                    Now, the reason that we had a no-return

      21     policy is multiple things.

      22                    One, if somebody had a problem with the

      23     product, a large majority of the time we could help

      24     them.

      25                    The product does require tuning.           So you




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                                                                        Page 57
        1    need to understand -- installing is very easy.

        2    Tuning, it's a little bit difficult.           So we could

        3    help them, you know, tune it.

        4                   So the first reason was to just avoid

        5    people just -- oh, this is -- you know, this -- I

        6    don't have the time.       I don't have the patience.             I

        7    just don't want to tune.

        8                   But the second reason was:        In our

        9    experience -- in my experience -- the winds change

      10     and opinion changes at ATF like at the flip of a

      11     coin.   So one day, the ATF is happy with something

      12     and the next day that they're not.

      13                    We've seen it countless times.          We've

      14     seen it with bump stocks.        We've seen it with frames

      15     and receivers.      We've seen it with, you know, the

      16     Akins Accelerator -- it's approved, it's not

      17     approved.

      18                    And the last thing we wanted to deal

      19     with was, you know, a landslide of customers wanting

      20     a refund because, you know, the ATF had changed

      21     their mind on something.


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                            If a court were to order you, or RBT, to

      17     put together a customer list indicating all your

      18     sales with the names of your customers, would you be

      19     able to do that?

      20            A       I would not be able to do that with the

      21     information available on our website.

      22            Q       Would you be able to do that with

      23     information available to you on another platform?

      24            A       I would have to piece together

      25     information from third-party platforms.




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                                                                        Page 62
          1         Q       What third-party platforms?

          2         A       Oh, wow....

          3                 Because the sales information --

          4   specific transactional information still exists in

          5   the website...I feel like I could probably piece it

          6   together, along with the shipping information, from

          7   the third-party shipping companies.

          8                 (Court reporter request for clarity.)

          9                 THE WITNESS:     "Shipping companies."

      10            Q       So the answer is yes?

      11            A       Can you ask the question again, please.

      12                    MS. STAMATELOS:      Could you please read

      13            back the last question I asked.

      14                    (Whereupon, the court reporter read back

      15            from the record as follows:

      16                           "Q     Sitting here today --

      17                    excuse me, let me rephrase that.

      18                           If a court were to order you,

      19                    or RBT, to put together a customer

      20                    list indicating all your sales with

      21                    the names of your customers, would

      22                    you be able to do that?")

      23            A       I feel like I could make a very good

      24      attempt at it.

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                            Were dealers who purchased FRT-15s in

              bulk and paid through wire transfers allowed to

      18      cancel orders?

      19            A       I don't know how to answer that

      20      question.

      21                    And once again, I'm not trying to be

      22      cagey.    I don't know if that ever presented itself

      23      as an issue.

      24                    So I don't know -- when you say

      25      "allowed," that suggests that it happened.            And I




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                                                                        Page 70
          1   don't know if that ever happened or not.

          2                 I don't know if a decision was ever made

          3   not to let them cancel.       Or I don't know if -- and I

          4   don't know if that decision would have ever been

          5   made, because I don't know if anybody ever asked to

          6   cancel.

          7                 I don't have an answer to that question.

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                                                                        Page 72

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            -        Q      In your capacity as president of RBT,

                have you posted videos on YouTube explaining this

      25        "digital shredding policy"?




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                                                                        Page 73
         1             A     I don't remember the contents of each

         2        and every one of my videos, but I'm inclined to say

         3        that I probably did explain that in a video.

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       I            I
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        5           Q       Sitting here today as the president of

        6    RBT, are you aware of any current efforts to find a

        7    manufacturer to make FRT-15s at some point in the

        8    future?

        9           A       I have quit looking for people to

      10     manufacture --

      11            Q       Okay.

      12            A       -- and probably will not do that again

      13     until this litigation is finished.

      14            Q       What do you mean by you "quit looking"?

      15            A       Well, I did look.

      16            Q       Explain that to me.

      17            A       Like I even went -- so are you familiar

      18     with what "SHOT Show" is?

      19            Q       Yes, I am.    Why don't you explain it for

      20     the record.

      21            A       Okay.   "SHOT Show" is probably the

      22     largest convention, annually, that is for the

      23     firearms industry.

      24                    The last SHOT Show I did attend, and I

      25     collected a tremendous amount of information for




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                                                                        Page 76
        1    potential vendors -- who does codings? who does

        2    hardening? who does -- you know, who cuts steel?

        3    who -- who could possibly -- who makes custom

        4    springs? who could we possibly work with in the

        5    future?

        6                   So knowing that, you know, 3rd Gen was

        7    no longer, you know, available to help, I have

        8    absolutely collected information on how to proceed

        9    when, you know -- when we're finished with this

      10     litigation.

      11            Q       And when you say "quit looking," when

      12     did you quit looking?       Was it this year --

      13            A       I'm always looking -- I'm still looking.

      14                    (Court reporter admonition.)

      15            Q       So you said "quit looking."         When did

      16     you "quit looking"?

      17            A       I haven't "quit looking."        I am

      18     continuing to look at options that are available in

      19     the market.

      20                    In the event that I win this litigation,

      21     I plan to go back into business.          And I don't want

      22     to miss a beat.

      23                    I am not contacting companies and asking

      24     them to work with me.       I am not contacting people

      25     and asking them to make parts for me.




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                                                                        Page 77
          1                 But I am always looking at who is

          2   available in the market and what they are doing.

          3                 So in the event I win this litigation, I

          4   do plan to go back into business.         And I don't want

          5   to miss a beat.

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              trigger"?
                            All right.    What is the "3rd position



      16            A       The "3 position trigger" is a version of

      17      the FRT that has a third position -- first position

      18      being safe, second position being a standard

      19      traditional semi-automatic, and the third position

      20      being forced reset semi-automatic.




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      12            Q       Is the third position trigger different

      13     than the FRT-15?

      14            A       Yes, ma'am.     The original FRT-15 -- that

      15     was the name, "FRT-15."        The third position FRT-15,

      16     the name was -- or I believe it's been

      17     trademarked -- but "FRT-15-E3."

      18                    And the "E" stood for Enhanced and "3"

      19     for 3 position.

      20            Q       What does "Enhanced" mean?

      21            A       We had upgraded the materials used in

      22     the 3 position.      We had tighter tolerances.          The

      23     design had changed.

      24                    So it was just a better version of -- it

      25     still operated the same, still looked essentially




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                                                                        Page 81
         1        the same.   But it was a better version than the

         2        original.

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         3            Q     It's your testimony today that you don't

         4       have the 3rd position trigger?

         5            A     It is my testimony that I do not have

         6       the prototype of the 3rd position trigger.         I do not

         7       know who has the prototype.

         8                  It is also my testimony today that I do

         9       not have a 3rd position trigger.


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        9           Q       What is "Red Beard Treasures"?

      10            A       It's a name that I used on shipping

      11     labels.

      12            Q       And did you use that name on shipping

      13     labels to ship WOTs?

      14            A       That is correct.

      15            Q       And why did you use the name "Red Beard

      16     Treasures" as opposed to "Rare Breed Triggers"?

      17            A       It's really easy.

      18                    So we had previously exclusively used

      19     UPS as a shipper.      They have a good reputation,

      20     things get to where they're going, they have a good

      21     insurance policy -- like I didn't need to worry

      22     about the item getting there.         And if it didn't get

      23     there or it was damaged in the process, UPS would

      24     take care of that problem.

      25                    USPS, they don't typically deliver to




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        1    someone's door.      They're putting it in a mailbox.

        2    It could be at the end of a driveway, the end of a

        3    street -- it's much less secure.

        4                   I was concerned about product loss.

        5                   And obviously with the price of these

        6    triggers, you know, being expensive and actually

        7    saying what it is on the product -- on the shipping

        8    label, it's much more of -- I don't know.

        9                   I think the chance is higher that

      10     somebody would be inclined to steal it if it said

      11     what it was.     And it's -- and USPS does not have a

      12     good track record delivering.         And they do not have

      13     a good track record, you know, covering like

      14     insurance claims.

      15                    So, you know -- in addition, it's --

      16     was, you know, really looking out for the customer's

      17     privacy.

      18            Q       Okay.   When was Red Beard Treasures

      19     incorporated?

      20            A       It doesn't exist.      It's just a name on a

      21     shipping label.

      22            Q       Okay.   So it's not an actual company?

      23            A       No.

      24            Q       Okay.

      25            A       I mean, even the return address on all




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                                                                        Page 93
        1    those shipping labels was still our address in

        2    Fargo.

        3            Q      Okay.   Just so I understand, you wanted

        4    to protect -- you used "Red Beard Treasures" on the

        5    shipping labels to protect your client -- your

        6    customer's privacy and to make sure that no one

        7    stole these WOTs?

        8            A      I feel like that's kind of an

        9    oversimplification.       It was definitely a little bit

      10     more complicated than that.

      11                    I can repeat my explanation, if you'd

      12     like.

      13             Q      No, that's not necessary.

      14                    What is "Red Barn Tools"?

      15             A      Same thing, another name.

      16             Q      Were you trying to avoid ATF figuring

      17     out that it was Rare Breed Triggers selling the WOTs

      18     by using these names?

      19             A      Well, Rare Breed Triggers marketed -- it

      20     sent out countless emails to people advertising that

      21     they were selling WOTs.        I don't know why I would

      22     make it so public and then attempt to hide it.

      23             Q      So just to be clear, the "Rare Breed

      24     Triggers" name was not on the mailing label for the

      25     WOT sales.




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                                                                        Page 94
          1                 Is that right?

          2          A      That is correct.

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      20             A      This is the cease-and-desist from the

      21      ATF.

      22             Q      Is this the first cease-and-desist

      23      letter that RBT received from ATF?

      24             A      Yes, ma'am.

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          7         Q       Okay.   Did RBT comply with this letter?

          8         A       No, we did not.

          9         Q       Okay.   At any point after bringing the

      10      FRT-15 to market, did RBT consider a temporary stop

      11      in the sale of the FRT-15?

      12            A       We're under a TRO right now.


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                    Q       So my question is:      Did you -- did the

              company consider a temporary stop in the sale of the

      18      FRT-15 prior to the TRO?

      19            A       I mean, there would have been a

      20      discussion.    But it would have been a very short

      21      discussion -- ultimately, with their answer being

      22      not to comply.




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           2         Q       I'll ask you the question again.

           3                 At any point in time, did RBT or

           4   yourself submit an FRT-15 to the ATF for

           5   classification?

           6                 It's a yes or a no question.        You either

           7   submitted it, or you did not.

           8         A       No, it's not a yes-or-no question.

           9                 Because even after the lawsuit was -- at

       10      a point in the lawsuit, in Florida, before it was

       11      dismissed, the judge asked us if we'd be willing to

       12      remand this issue back to the ATF.         The ATF at that

       13      point even refused to take the remand.          They weren't

       14      willing to.

       15                    So after that case was dismissed, we

       16      then submitted all of our documentation to the ATF

       17      and asked for reconsideration.

       18                    So all of our documents, our videos, all

       19      of our evidence, our expert reports -- we submitted

       20      that to the ATF again after the case was dismissed

       21      and asked for them to reconsider.

       22                    Now, did that include a physical sample?

       23      I don't believe it did.      But it included --




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           --         Q     Okay.    So the question that I'm asking

       22       is:   Did the court grant RBT a temporary restraining

       23       order or a preliminary injunction in that action?

       24             A     No.   The case was dismissed for missing

       25       a joint filing date.




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                                                                       Page 104
        1            Q      Okay.

        2            A      Now, I'd like to expand on that.

        3                   Before that happened, the court was

        4    going to issue a remand.        The court specifically

        5    asked us to file a motion to remand.

        6                   The court adjourned.       We go home.        We

        7    start working on a motion to remand.

        8                   Kevin Maxwell gets COVID.         He's down and

        9    out, and -- I mean, he had a very, very, very bad

       10    case.    I wasn't sure if Kevin was going to make it.

       11                   But during this time while we should

       12    have been working on this motion to remand, the

       13    judge dismisses the case based on missing a joint

       14    filing date -- and this joint filing date was prior

       15    to us even going in for the hearing.

       16                   So I feel like -- in my heart of hearts,

       17    I feel like the judge was going to go our direction

       18    or at least issue the remand, but found an

       19    opportunity to punt.        He just didn't want to have

       20    anything to do with the case -- so, he punted.

       21            Q      Okay.    And then you filed a subsequent

       22    litigation against the United States after the

       23    Florida litigation failed?

       24            A      That's right.

       25            Q      Where?




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        1            A      In North Dakota.

        2            Q      And why did you file in -- why didn't

        3    you refile in Florida?

        4            A      There were so many things happening at

        5    this point.

        6                   When we were in court in Florida, the

        7    conversation -- Kevin was looking to retire.               He was

        8    looking at ranches, like buying a ranch and retiring

        9    to North Dakota.       We're like, hey, this is a good

       10    place to be.

       11                   I know that he had kind of been working

       12    with somebody up there, you know, to look for

       13    places.     So we decided to move the company to

       14    North Dakota.

       15                   That was an effort in itself.

       16                   And then once we were in North Dakota,

       17    that's when we filed the new action.

       18            Q      And was that action successful?

       19            A      No, it wasn't.

       20            Q      Okay.    Does Mr. Maxwell currently live

       21    in North Dakota?

       22            A      I'd like to back up a step.

       23                   No, it wasn't successful.


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       •            I
       21            Q      You live in Austin -- is that right --

       22      Texas?

       23            A      That is correct.

       24            Q      And all the duties that you perform for

       25      RBT, you perform in Austin?




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                                                                       Page 107
          1          A      That is correct.

          2          Q      Did you file a suit in Austin?

          3          A      No.

          4          Q      Does Mr. Maxwell live in North Dakota?

          5          A      No, he does not.

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           -         Q

               differently.
                            Okay.    I'll ask it a little bit



       21                   Did you tell your customers that RBT did

       22      not submit the FRT-15 for classification in your

       23      marketing materials?

       24            A      No.   But --

       25            Q      Okay.




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                                                                       Page 109
           1         A      -- I don't know why I would have.

           I        I
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           I        I

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       12            Q      Yes.    Is it customary for....

       13            A      It is not customary at all for a trigger

       14      company to submit their triggers to the ATF for

       15      classification.

       16            Q      What do you mean by "trigger companies"?

       17            A      A company that manufactures triggers for

       18      a firearm, it is not customary that they submit them

       19      to the ATF for classification.

       20            Q      Is an FRT-15 a trigger?

       21            A      Yes.




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                                                                       Page 110

           I        I
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           I        I
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           6         Q      On the Rare Breed Triggers website --

           7         A      Yes, ma'am.

           8         Q      -- was there any statement stating --

           9   indicating that RBT did not submit the FRT-15 for

       10      classification?

       11            A      Let me give you a much shorter response

       12      than the previous one.

       13                   But the answer would be:        No, but I

       14      don't know why we would have.        It's not customary

       15      for a trigger to be submitted to the ATF for

       16      classification.

       17                   It's a semi-automatic trigger that fires

       18      one round with a single function of the trigger.

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                                                                       Page 111

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                     Q

             Mr. Rounds?
                            Okay.    When did you first meet



       15            A      I can't give you an exact date, and I

       16    can't even given you an exact year.

       17                   It's been many years.

       18            Q      Did you meet him prior to 2017?

       19            A      I don't know.

       20            Q      Who introduced you to Mr. Rounds?

       21            A      I'm not sure exactly.

       22            Q      Were you in the same social circle?

       23            A      We do share -- have numerous friends in

       24    common.

       25            Q      Are you still in the same social circle?




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                                                                       Page 112
           1         A      I mean, I wouldn't really even call us

           2   in the same social circle.       But we do have many

           3   friends in common.

           4         Q      Is Sam Eastman one of those friends?

           5         A      Yes, Sam Eastman is a mutual

           6   acquaintance.

           7                But Sammy's been -- is one of my

           8   attorneys.

           I        I

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                     Q      Okay.    So I don't know if I asked this

               question, but did Sam Eastman introduce to you

       15      Rounds?

       16            A      I don't know if Sam introduced me to

       17      Rounds.   I wouldn't be surprised to hear that's how

       18      we came to know one another, but I don't know if Sam

       19      introduced me to Cooper.

       20            Q      Okay.    What does Mr. Rounds do for a

       21      living?

       22            A      Cooper and I are not very close.            I've

       23      never been to his house.

       24                   But it's my understanding that he is a

       25      bit of an inventor.     And that's my understanding, is




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                                                                       Page 113
           1   that's what he does for a living.

           2         Q      Okay.    Do you know where he lives?

           3         A      In Austin.

           I        I
           I        I
           6         Q      Okay.    And does Rounds have a company?

           7         A      Yes.    So he has a company called "Wolf

           8   Tactical."   And then I am aware of another company

           9   that he would have been paid to, but I don't -- the

       10      name of that company is not even coming to mind

       11      right now.

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       10                   Did you have discussions with Rounds

       11    about any trigger that he was working on in or

       12    around 2017? -- other than the FRT-15.

       13            A      I'm following you.

       14                   In my early days of coming to know

       15    Cooper, I would literally see him -- I don't know --

       16    once every three, four, five months.           I wouldn't see

       17    him often.

       18                   And in passing, he had mentioned that he

       19    was working on another project and it was a trigger

       20    project.

       21                   And in these conversations, you know, he

       22    would kind of give me loose details.           And I kind of

       23    would not give him the response that I think he

       24    would want.

       25                   Like I would tell him, Hey, that's not a




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                                                                       Page 115
        1    good idea, that, you know, that's not going to work,

        2    that's going to be a problem -- like, you know,

        3    whatever, good luck to you.

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       14            Q      Okay.    Can you explain a little bit more

       15    about what that particular trigger was.

       16            A      Well, at the time I really didn't know.

       17    Like that was the full scope of the conversations,

       18    because they were very, very limited.

       19                   So I have now known -- I have now come

       20    to know that that trigger is what is also now known

       21    as the AR1, because I don't think it was even

       22    known -- had that name even then.

       23            Q      Okay.    If I'm understanding you right,

       24    at the time that you were having discussions with

       25    Mr. Rounds about this particular trigger, you




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                                                                       Page 116
           1   weren't aware -- for whatever reason -- that it was

           2   named the "AR1 trigger"?

           3           A    Well, I don't think it even had the name

           4   then.

           I           I
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           I           I
           I           I
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                            Could you explain to me what the AR1

       20      trigger was?

       21              A    Well, at the time I had no idea.            And

       22      if --

       23              Q    Okay.    So let me stop you.

       24                   At the time you had no idea, what did

       25      you know about the AR1 trigger at the time?




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                                                                       Page 117
           1         A      Well, he told me he was working on a

           2   trigger.   I knew that -- well, I'm even having a

           3   tough time trying to put it together.

           4                Like, the conversations were years ago.

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           8         Q      Okay.    Did you ever see the

           9   classification report from the ATF classifying the

       10      AR1 trigger system as a "machinegun"?

       11            A      I have now.     Like --

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                                                                       Page 125

           I
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           4         Q      Okay.    Do you know if there are any

           5   similarities between the AR1 trigger and the FRT-15?

           6         A      They're both forced reset.

           7         Q      Is that it?

           8         A      It's easier to tell you what the

           9   differences are.

       10                   The similarities is that they're both

       11      reset.

       12                   I have now come to know that the....

       13                   The best way to put this together....

       14                   ...that one of the reasons -- well,

       15      really, the only reason that I'm even aware of that

       16      the ATF had denied the AR1 was because it had a

       17      potential for hammer -- hammer follow.


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       14            Q      Did you handle the acquisition of that

       15      patent --

       16            A      I did.

       17            Q      -- on behalf of RBT?

       18                   (Court reporter request for clarity.)

       19            Q      Handle the acquisition of the '223

       20      patent?

       21            A      I did.

       22            Q      Okay.    What did RBT pay for it?          What

       23      was the purchase price?

       24            A      $10,000.

       25            Q      And Mr. Rounds, is he currently




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                                                                       Page 132
           1   receiving royalties from RBT?

           2                MR. CONTARINO:      Objection; form.

           3         A      I prefer not to use the word

           4   "royalties," because there was never a royalty

           5   agreement made with him.

           6                I am the one that was responsible for

           7   the agreement.    So I can definitely expand on that.

           8                But we do pay him, in addition to the

           9   $10,000, yes.

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                                                                       Page 134

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        3            Q      So do you know how much money XYZ paid

        4    Mr. Rounds?

        5            A      In total?     No, I have no idea.

        6                   But what I can tell you is:         The

        7    agreement that I had come to with Cooper -- and I

        8    feel like it's very important to kind of even put

        9    context here -- is....

       10                   I don't want to mess this timeline up.

       11    But Cooper was just kind of unhappy with the

       12    situation, unhappy with the ATF when the '223 patent

       13    was approved.

       14                   He was just kind of disheartened with

       15    the whole -- like the situation that he was dealing

       16    with, and he no longer -- just -- he didn't want to

       17    deal with it.

       18                   He just wanted to part ways, be done

       19    with the '223 patent, and move on with his life.

       20                   I told him that I would buy it.            He --

       21            Q      I'm going to interrupt you.

       22            A      Yes, ma'am.

       23            Q      You said you would buy the '223 from

       24    him.

       25                   Why was he unhappy with the ATF at the




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                                                                       Page 135
        1     time?

        2             A     Well, I now have come to know that this

        3     is when he was dealing with, you know,

        4     classifications and whatnot.

        5             Q     At the time that you bought the '223

        6     patent, you knew about the --

        7             A     No.   I have now come to know --

        I
        9             A     -- that he was kind of just disheartened

       10     with the situation he was dealing with.

       11                   He didn't want to deal with it.            He

       12     wanted to part ways and be done with it.

       13                   He had told me he had about $10,000 into

       14     the patent, obtaining the patent.          And he didn't

       15     want to make any money, he didn't want to lose, he

       16     just wanted to just be done.

       17                   So I cut him -- you know, we paid him

       18     $10,000.


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                                                                       Page 136
           1                 So I told him -- I said, Man, this is

           2   worth so much more than 10 Grand.         And if we succeed

           3   with this thing and if it turns into something, I'll

           4   do you right -- like I'll give you 25 bucks a

           5   trigger.

           I                                                                I
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       13

       14
                     Q

               understand.
                             Okay.   So let me -- I just want to



       15                    So you mentioned $25 a trigger.

       16                    Is that what Mr. Rounds was paid?

       17            A       Per trigger, yes.

       18            Q       Okay.   And how many triggers -- FRT-15s,

       19      excuse me, did RBT sell?

       20            A       I don't know.

       21            Q       Okay.   Is it tens of thousands?

       22            A       Yes.

       •            I


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       •            I




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                                                                       Page 142

           I
           2         Q       Okay.   When was the last time you spoke

           3   with Rounds?

           4         A       I mean, it's probably been a week.

           5         Q       What did you talk to him about?

           6         A       Just the status of my life, I -- you

           7   know, what's going on with me.

           8         Q       Did you talk to him about this

           9   litigation?

       10            A       Sure.

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                     Q      So you spoke to Mr. Rounds a week ago.

                            When was the last time you saw him?

       14            A      When I spoke to him a week ago --

       15            Q      So --

       16            A      -- -ish ago.

       17            Q      So you met with him in person?

       18            A      He happened to be where I was going.

       19            Q      Where was that?

       20            A      At Sam Eastman's office.




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                                                                       Page 145

        I           I
         2           Q      Okay.    Now, prior to seeing Mr. Rounds

         3     in Mr. Eastman's office and having a conversation,

         4     when was -- when was the time prior that you had met

         5     with him?

         6           A      I don't know.

         7                  I think it is fair to say that I see him

         8     sporadically, but I cannot give you dates.

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                     Q      Okay.    Subsequent to the filing of this

       21      litigation that we're here today for, how many times

       22      have you seen Mr. Rounds in person?

       23            A      I don't know.

       24            Q      More than once?

       25            A      Well, definitely more than once.            But I




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                                                                       Page 146
        1    don't want to guess for you -- but, sporadically.

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                                                                       Page 148

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           5                Do you recall giving an interview on

           6   TFBTV YouTube channel called "The FRT-15 Story:                An

           7   interview with Rare Breed's President, Lawrence

           8   DeMonico" in or around September 29, 2021?

           9         A      I do remember giving that interview.

       10            Q      Okay.    And in this video -- in this

       11      video interview, do you recall saying that RBT was

       12      the only company that had the, quote/unquote, balls

       13      to sell the FRT-15?

       14            A      I don't remember saying that.

       15                   If you had the video to show, I'd be

       16      happy to watch it.     But it doesn't sound like

       17      something -- I mean, it does sound like something I

       18      would say, yes.

       19            Q      Okay.    So why do you think RBT was the

       20      only company that had the, quote/unquote, balls to

       21      sell the FRT-15?

       22            A      Well, I mean...it's....


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           6         Q      Okay.    Did there come a time where

           7   either yourself or any defendant purchased

           8   replacement parts for the FRT-15 --

           9         A      Yes.




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                     Q      I just want to understand what was

               advertised on the Rare Breed Firearms website

       24      vis-a-vis anything that would relate to the FRT-15.

       25            A      Spare parts.




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                       Q    Okay.    Did you have communications with

       13      any 3rd Gen employee after the ATF search on 3rd

       14      Gen?

       15              A    Yes, ma'am.

       16              Q    With whom did you speak?

       17              A    Well, I would have spoken to Evan.              I

       18      would have spoken to Jon.       I think I even spoke to

       19      Josh.

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                            Now, after the ATF conducted its search

       21       of 3rd Gen, did you travel to 3rd Gen?

       22            A      Three weeks.




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                     Q      Just so I understand, 3rd Gen counsel

       22      advised 3rd Gen not to give you whatever FRT-15s

       23      remained in their possession?

       24            A      It is my understanding that 3rd Gen was

       25      advised, by counsel, against sending us our




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                                                                       Page 176
        1    products.

        2                   Now, the product was already paid for.

        3    It was our property.        So we were asking them to ship

        4    it to us.

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       18
          --                And I kept asking them to send it to us.

       19    And they didn't want to send it to us.            They said,

       20    the ATF is going to come get it.


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                                                                       Page 177
        1            Q      Okay.    Now, prior to traveling to 3rd

        2    Gen Machine to take the remaining FRT-15s from 3rd

        3    Gen, did Cole Leleux know that you were going to do

        4    this?

        5            A      I had mentioned it to him that I had

        6    considered it.      I don't think I actually told anyone

        7    that I was going to go do it.

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       14            Q      Did you contact anyone at ATF to see why

       15    they had not picked up those --

       16            A      Why they had picked up my property that

       17    I had already paid for that I believed to be

       18    completely legal because it only fires one round per

       19    single function of the trigger?          No, I did not call

       20    them to do that.

       21                   I mean, heck, I've asked them for an

       22    examination report that they wouldn't provide.

       23    Like....

       24                   ATF hasn't been very cooperative in

       25    being reasonable.       I mean, even their interpretation




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                                                                       Page 178
          1        of the statutory definition is completely

          2        unreasonable.

          3                   So, no, I did not reach out to the ATF.

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                      Q     Have you ever traveled to 3rd -- had you

               ever visited 3rd Gen Machine prior to --

       17             A     No.   I had never been to 3rd Gen.

       18             Q     Okay.    So you fly to Salt Lake City.

       19                   And what do you do next?

       20             A     Okay.    I believe I took an Uber, and I

       21      picked up an Enterprise -- or, I'm sorry, a U-Haul

       22      van.   And I drove that long drive to Logan, Utah.

       23                   And upon my arrival, I pulled up in the

       24      parking lot.    I walk in.

       25                   The woman that worked in the front




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                                                                       Page 180
         1     recognized me.     I am not sure who she was, and I

         2     don't know who she is today.       But I asked where Jon

         3     was.   She pointed to his office.

         4            Q     Who's "Jon"?

         5            A     Jon Robinson, the general manager of 3rd

         6     Gen.

         7            Q     Okay.    Did Jon Robinson know that you

         8     were coming?

         9            A     No.   Nobody knew I was coming.          I --

       10             Q     Was this a surprise visit on your end?

       11             A     It was a 100 percent surprise visit.

       12                   So I walked into his office.


       --
        --
         --
       21
          --                And I looked at him and kind of a, you

       22      know, kind of smile and in a jokingly voice said,

       23      hey, I'm here to get my shit.

       24                   And I think he was kind of speechless at

       25      first and didn't really know what to say.




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                                                                         Page 181
           1                       He told me the ATF was coming to get the

           2       s t uff .   And I t old him -- I said, man , you ' ve been

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          7            Q     You traveled to 3rd Gen on April 14,

          8       2022 with the intent to take the FRT-15s that

          9       were -- that remained at 3rd Gen?

       10              A     Yes, that is correct.


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                     Q      So that was you taking the FRT-15s from

               the parking lot?

       13            A      Yes, ma'am.


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                     Q      Are there similar products to FRT-15s

               for sale on the market?

       18            A      Yes.


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                                                                       Page 185
          1                   But now that you've specified for us

          2        reset triggers -- specifically, there is the Tac-Con

          3        3MR.

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       14            Q      Okay.    So when you first started selling

       15    FRT-15 triggers, who were your biggest competitors?

       16            A      I mean, our competitor would have been

       17    the Tac-Con 3MR.       That's what everybody compared us

       18    to.

       19            Q      Okay.    And how many years has the

       20    Tac-Con 3MR been on the market?

       21            A      I don't know what year it received its

       22    approval, but I would say...I think it's been

       23    available probably for about a decade.

       24            Q      Okay.    Now, what does the FRT-15 do?

       25    What is the point of this trigger?




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                                                                       Page 187
           1         A      It allows the shooter -- through a

           2   forced reset, allows the shooter to have a very

           3   quick follow-up shot.

           4         Q      What's a "follow-up shot"?

           5         A      A subsequent shot.

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       14            Q      Okay.    Do you have a sense of how long

       15    it takes for ATF to review something that has been

       16    submitted for classification?

       17            A      I have heard secon dhand from peopl e that

       18    have gon e thr ough the process that i t can take , you

       19    know , a year o r much l o n ger .

       20            Q      Okay.    So you have never submitted

       21    anything to the ATF for classification?

       22            A      No , I h ave n o t.


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                                                                       Page 191
           1                Did you, with Mr. Maxwell -- how were

           2   the standard responses to emails from customers, RBT

           3   customers, put together?

           I        I
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           6                But like there were numerous standard

           7   responses, and -- to common questions -- that I

           8   probably would have crafted.

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           -         Q      And did the common questions from RBT

               customers pertain to the legality of the -- of




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                                                                       Page 192
           1    FRT-15?

           2         A      I think there were quite a few questions

           3    about, you know, the legality or, you know,

           4    classification or whatever.      That was definitely a

           5    common question.

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           4          Q     Okay.    Other than questions about the

           5     legality of the FRT-15 cease-and-desist letters, the

           6     classifications, and so on, did you have any other

           7     common questions from customer -- from customers?

           8          A     I would imagine so.       I can't off the top

           9     of my head think of one for you right now, though.


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       16                   How are you -- as the president of RBT,

       17      how are you compensated for your work?

       18            A      I'm paid by RBT.

       19            Q      Okay.    And did you -- were you paid a

       20      salary, or were you paid something else?

       21            A      I mean, it was a given dollar figure

       22      monthly.

       23            Q      How much was that?

       24            A      9,000.

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                                                                       Page 205

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           7         Q      Did you receive any funds from any other

           8   LLC that we've discussed -- ABC IP, XYZ

           9   Distribution, LLCs that you identified previously?

       10            A      I have a company LAD, LLC.

       11                   LAD -- those are my initials -- that

       12      company does get paid IP royalties from ABC IP and

       13      pay from DEF Consulting.




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                     Q      All right.     So how much money did LAD,

               LLC receive in connection with FRT-15 sales?

       21            A      I don't know.

       22            Q      Did LAD, LLC receive monthly payments

       23      from ABC IP?

       24            A      I mean, it could have been more often.

       25      I mean, it could have been biweekly.         It could have




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                                                                       Page 206
           1   been monthly.    I don't know.     I didn't pay

           2   attention.

           3         Q      Do you know -- can you give me one

           4   figure -- one check that LAD, LLC received?

           5         A      I mean, no, I cannot give you a specific

           6   dollar figure.

           7         Q      Sitting here today, you have no idea how

           8   much money your company was paid in connection with

           9   FRT-15 sales?

       10            A      A lot.    I can't give you a number.




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                                                                       Page 207
           1         Q      Okay.    So what happens to the money

           2   that's in LAC, LLC?

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           6         Q      What business purpose is it used for?

           7         A      Well, anything related to that company.

           8   That company -- LAD is -- I mean, it has a d/b/a,

           9   which is War Paint Marketing.

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       19

       20
         -           Q

                     A
                            So what is "War Paint Marketing"?

                            Well -- I've got a -- had a plan for it,

       21      and that plan really hasn't quite taken off yet.

       22                   But the plan was to turn it into like a

       23      full-blown marketing agency.




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                                                                       Page 208

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         7            Q       Okay.   Does War Paint Marketing provide

         8       any website -- website, excuse me, design services

         9       for RBT --

       10             A       No.

       11             Q       -- or RBF?

       12             A       No, no.


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     1                           CERT IF ICATE

     2

     3                 I , SU JAN ASHE , a Registered Merit

     4   Reporter and Nota1 y Public , hereby certify t h a t      the

     5   foregoing is a tr e and accurate transcript of the

     6   depos i tion of sai   witness , who was f i rst du l y sworn

     7   by me on the date and place here inbefore set forth .

     8                 I   FUR HER CERTIFY that I am neither

     9   a t torney nor coun e l, nor related to or e mployed by

    10   any of the partie1 to the ac t io n in which th i s

    11   deposi t ion was ta1e n, and further that I am not a

    12   re l at i ve or emploJee of any attorney or coun se l

    13   employed in t his ~ ction ,     nor am I financially

    14   interested in thi      case .

    15                 Dated this 10th day of July 2023 .

    16

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    20               for the Commonwealth of Virgi ni a

    21

    22   My commi ssion expires :        January 31 , 2024 .

    23   Notary Reg i strati !n Number :      100809 .

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